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                         EXHIBIT A
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                            DECLARATION OF TRACY L. RENAUD

I, Tracy L. Renaud, hereby make the following declaration with respect to the above-captioned

matters:

       1.     I am the Acting Director of U.S. Citizenship and Immigration Services (USCIS),

Department of Homeland Security. As the Acting Director of USCIS, I am responsible for

overseeing approximately 20,000 federal employees and contractors, who handle approximately

26,000 immigration benefit applications, petitions, and other requests on an average day.

       2.     Prior to January 21, 2021, I served as the Associate Director of the Service Center

Operations Directorate. I’ve also had prior roles as the Acting Deputy Director and Associate

Director of the Management Directorate within USCIS, among other roles in the more than 39

years that I have worked for USCIS and legacy INS.

       3.     I make the following declaration based on my personal knowledge and on

information made available to me in the performance of my official duties as Acting Director of

USCIS.

       4.     I have reviewed the Court’s July 16, 2021 injunction, which:

              a.      Requires DHS to cease approving any new DACA “applications” received

       by DHS and cease granting DACA to any new “applicants” not granted on or before the

       date of the order;

              b.      Permits DHS to continue to accept initial DACA “applications” and

       renewal DACA “applications”;

              c.      Permits DHS to continue to approve DACA renewal “applications,” and

       administer the DACA policy for DACA “recipients,” which USCIS understands to

       include, among other things, adjudicating attendant work authorization applications,

       adjudicating advance parole applications, and granting requests for replacement of

       previously issued documents; and

              d.       Required DHS to post a public notice by Monday, July 19, 2021, to be

       displayed prominently on its website, that a U.S. District Court has found the DACA

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       program to be illegal and that, although applicants may continue to submit applications,

       the Government is prohibited from granting such applications, as well as provide a copy

       of the notice to all counsel and post to the docket.

       5.      On July 16, 2021, USCIS sent guidance to DACA adjudicators to cease granting

initial DACA requests and related work authorization requests, as well as to cease scheduling

biometrics appointments for initial DACA requestors.
       6.      Consistent with the Court’s stay of its injunction, USCIS also instructed DACA

adjudicators to continue adjudicating DACA renewal requests from those individuals who had

obtained DACA on or before July 16, 2021.

       7.      USCIS also instructed its workforce that it could continue to accept both initial

and renewal DACA requests.

       8.      Pursuant to longstanding DACA policy and practice, initial DACA requests

include:

               a.     Requests from filers who have never been granted DACA,

               b.     Requests from filers who previously had a grant of DACA, but are filing

       more than a year after their last grant of DACA expired,

               c.     Requests from filers who previously had a grant of DACA but their last

       grant of DACA was terminated.

       9.      Pursuant to longstanding DACA policy and practice in place since 2014, USCIS

adjudicates renewal DACA requests from individuals who previously held DACA and file within

one year of the date their prior grant of DACA expired. USCIS understands this practice to be

consistent with the terms of the Court’s injunction and is continuing to adjudicate such renewal

requests.

       10.     On July 16, 2021, USCIS halted the scheduling of any DACA requests for

biometrics appointments at the Application Support Centers (ASC) so that no new appointments

for initial DACA requestors were scheduled. USCIS is in the process of removing pending




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initial requests from the scheduling pool for biometrics appointments and implementing system-

based stops to prevent future scheduling.

          11.    On July 16, 2021, and within the early morning hours of July 17, adjustments

were made to ELIS (the internal USCIS electronic system used to adjudicate DACA requests) to

prevent adjudicators from being able to process DACA initial requests for adjudication.

          12.    On July 18, 2021, USCIS notified individuals with pending initial DACA requests

who had already been scheduled for biometrics appointments that their ASC appointments had

been canceled, through text messages and emails, as well as a message to the eGov delivery

service. There were approximately 9,800 individuals with pending initial DACA requests

scheduled for biometrics between July 19, 2021 and August 6, 2021.

          13.    Despite the messaging campaign, most of the scheduled requestors arrived at the

ASCs for the appointments throughout the week of July 19. USCIS provided the contractor that

operates the 131 ASCs across the U.S. and its territories with a list of all initial DACA requestors

with instructions not to collect biometrics from these requestors. However, as of July 26th,
approximately 52 initial DACA requestors had biometrics collected throughout the

week. USCIS determined that in each case, the cause was human error. USCIS is continuously

reinforcing communications with the vendor to ensure that no further initial DACA requestors

are processed for biometrics. Initial DACA requests for individuals who had biometrics

collected despite the cancellation of their appointments, will not move forward with adjudication.

          14.    On Monday, July 19, 2021 USCIS identified nine initial DACA cases that were

acted upon between Saturday, July 17 and Monday, July 19. USCIS was able to immediately

intervene in one case before any notice was issued to the requestor, and has taken the following

remedial steps to address the eight remaining cases, and further safeguard against any additional

errors:

                 a.     USCIS identified that the adjustments to ELIS did not prevent cases

          already assigned to a work queue from being processed it only prevented additional




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       initial cases from being newly assigned to an adjudicator’s work queue. USCIS

       subsequently unassigned all DACA initial requests from adjudicators’ work queues.

               b.     USCIS was able to prevent all related EAD cards from being mailed for

       the DACA initial requests acted on after July 16, 2021. Six EAD cards were able to be

       pulled from production entirely, and the additional two cards were manually pulled after

       production to prevent the cards from being mailed.

               c.     USCIS is advising the remaining eight initial individuals that their DACA

       approvals were void at the time of issuance and that they have not been granted DACA

       given this Court’s order. The cases have been returned to pending status and will remain

       on hold with all other DACA initial requests.

               d.     Beginning on July 19, 2021, USCIS has run data inquiries multiple times a

       day to identify any initial DACA requests in any workflow queues so they may be

       removed. To date, the inquiries have shown no new DACA initials filings have been

       adjudicated.

       15.     For individuals whose initial DACA requests (Forms I-821D) had been approved

in USCIS systems on or before July 16, 2021, and for whom the Court stayed its injunction on

DACA, USCIS interprets the Court’s stay of its injunction to permit such existing DACA

recipients to continue receiving their approval notices and I-766 Employment Authorization
Documents (EADs) even if issued after the date of approval of their DACA request by USCIS

adjudicators. Notices of DACA grants and associated EADs are routinely issued subsequent to

the date on which the grant actually occurred simply due to the lag time to create and mail

notices and/or EADs. Some Forms I-765 are adjudicated after the I-821D is approved,

depending on whether all evidence has been received for purposes of the Form I-765

adjudication. If the Form I-765 is approved later for a requestor who was granted initial DACA

on or before July 16, 2021, the EAD will bear a validity date period that runs from the later

approval date of the Form I-765 for employment authorization, not the Form I-821D for DACA,

through the end date for the recipient’s DACA grant.


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       16.     USCIS continues to accept and process DACA renewals.

       17.     USCIS believes that the technological and systematic solutions described in

paragraph 14 will provide a stop gap to prevent the issuance of new initial DACA grants.

       18.     On July 19, 2021 USCIS updated its website to reflect that a U.S. District Court

has found the DACA program to be illegal and that, although applicants may continue to submit

applications, the Government is prohibited from granting such applications, as well as provide a

copy of the notice to all counsel and post to the docket.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


Executed this 27th day of July of 2021.

TRACY L Digitally         signed by
                  TRACY L RENAUD

RENAUD            Date: 2021.07.27
                  18:27:39 -04'00'
___________________________________
Tracy L. Renaud
Acting Director,
U.S. Citizenship and Immigration Services
Department of Homeland Security




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